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                UNITED STATES DISTRICT COURT FOR THE
            NOTHERN DISTRICT OF ILLINOIS, WESTERN DIVISION

 DR DISTRIBUTORS, LLC, and CB                 )
 DISTRIBUTORS, INC.                           )
                                              )
            Plaintiffs/Counterclaimant,       )
                                              )
       v.                                     ) Case Number: 3:12 – cv – 50324
                                              )
 21 CENTURY SMOKING, INC., and BRENT          )
 DUKE,                                        ) Judge: Frederick J. Kapala
                                              )
            Defendant/Counterclaim Defendant, ) Magistrate Judge: Iain Johnston
                                              )
 21 CENTURY SMOKING, INC.,                    )
                                              )
            Counterclaimant,                  )
                                              )
       v.                                     )
                                              )
 DR DISTRIBUTORS, LLC, CB DISTRIBUTORS, )
 INC. and CARLOS BENGOA,                      )
                                              )
            Counterclaim Defendants.          )

                              REPORT TO THE COURT

      21 CENTURY SMOKING, INC. and BRENT DUKE (collectively “21CS”), by their

lawyers, THOMAS R. LEAVENS, TRAVIS R. LIFE, PETER S. STAMATIS and STEVEN

S. SHONDER, for this Report to the Court, hereby state as follows:

      1.     On September 13, 2018, counsel for defendants submitted a Report to this

Honorable Court regarding the Yahoo-Messenger account of Mr. Duke (the “First

Report”, Doc #268).
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      2.     In the First Report, counsel for 21 Century Smoking, Inc. (“21CS”) advised

the Court that it was investigating issues regarding Mr. Duke’s Yahoo-Messenger

account data and to that end, had engaged “4Discovery” (Defendants’ e-discovery

vendor) to inquire as to whether Mr. Duke’s Yahoo-Messenger Account data had been

searched in conjunction with 4Discovery’s key-word search of his Yahoo email

account.

      3.     We also advised the Court that 4Discovery had come to understand that

its key-word search of Mr. Duke’s Yahoo Email Account would not have included Mr.

Duke’s Yahoo-Messenger chatting. 4Discovery also determined from the information

contained on the Yahoo.com web site that the data on Mr. Duke’s Yahoo-Messenger

account would be recoverable, even though it has not been used for several years. In

reliance on the information on Yahoo’s web site, on September 13, 2018, 4Discovery

advised that it could recover data from Mr. Duke’s Yahoo-Messenger Account and

would undertake to do so as soon as possible.

      4.     The First Report further advised that we expected to “get results within

the week” and would promptly produce them.


      5.     Since submitting that Report to the Court, counsel for 21CS and its

consultants at 4Discovery have undertaken extensive efforts to obtain data from Yahoo

Messenger. Despite these attempts, which are set forth below, Yahoo has, for reasons

unknown to us (or to Yahoo, apparently) not been able to produce the data. By way of

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this Report to the Court, we wanted to formally advise Your Honor of our good-faith

efforts to track down this data and then to seek the Court’s direction regarding further

action to be taken.


                      Actions Taken Since the Issuance of the Report

       6.     After discovering Yahoo’s representation that Yahoo Messenger data could

be recovered, counsel directed 4Discovery to pursue recovery of the data through the

mechanism provided by Yahoo.


       7.     On September 13, 2018, Jared Sikorski (“Jared”), a Forensic Investigator

with 4Discovery, obtained Mr. Duke’s Yahoo Messenger log-in credentials and logged

into Mr. Duke’s BrentDuke@yahoo.com account. Once logged in, Jared navigated to

https://messenger.yahoo.com       which   redirected   him   to   https://help.yahoo.com/

kb/SLN28776.html?redirect=true. There, he found the webpage titled "Yahoo Messenger

will be discontinued," which indicated that though Yahoo Messenger was a service Yahoo

was no longer offering, it would be maintaining the Yahoo Messenger chat data at least

through November 8, 2018. See Exhibit 1.


       8.     Using this page, Jared then submitted a download request for Mr. Duke’s

Yahoo Chat history. “Brentduke@yahoo.com” received a confirmation email from

Yahoo acknowledging the request and advising that Mr. Duke would be notified when

his data is available. See Exhibit 2.



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         9.    The following day, on September 14, 2018, brentduke@yahoo.com received

an email from Yahoo with the subject, "Download of your data is ready." See Exhibit 3.

Jared navigated to the specified website to download the zip file which purported to

contain the data, but the download failed and instead, Jared received the message "failed

– server problem." See Exhibit 4.

         10.   Jared attempted the download several more times, and from different web

browsers, each time without success. He also remotely connected to Brent's computer to

attempt the same process from Brent’s computer, but that did not work either.

                                     Yahoo Support

         11.   On September 17, 2018 Jared emailed Yahoo support about the issue but

received no assistance. On September 19, 2018, Peter Stamatis contacted Yahoo directly,

(now owned by Verizon/Oath) and inquired about obtaining this data and Yahoo assured

him that Yahoo Messenger data was generally available for download. He so advised

Jared.

         12.   On September 20, 2018, Jared received correspondence from Yahoo,

wherein Yahoo simply provided him with the same download link it had previously

published. Jared tried again, and once again, Jared received the "Download of your data

is ready" email. Though that download was seemingly successful, this time it simply

contained no data whatsoever.




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           13.      On September 21, 2018, Jared telephoned Yahoo Tech Support (1-800-305-

7664) and in a call that lasted over 30 minutes, inquired as to why Yahoo produced no

data.

           14.      Yahoo suggested Jared try multiple browsers, which he did, and directed

him to update Java, which Jared also did. None of this worked. As result, Yahoo advised

that it would escalate the case internally within its tech-support department and

promised Jared someone with Yahoo would call him back.

           15.      Jared did not receive the call back promised by this Yahoo representative.

                                     Yahoo Account Pro Support Engaged

           16.      On September 24, 2018, Jared signed up for Yahoo Account Pro, a paid-

Yahoo-support service, see Exhibit 5, and spoke with a tech-support representative

named “Yuan.”1 Yuan is believed to be located in the Philippines.

           17.      Yuan tried, but could not get any of the Yahoo Messenger Data to Jared.

Yuan promised Jared that he would look further into the matter, engaged Yahoo’s

Engineering Team, and assigned the inquiry a case number. Yuan also advised that he

escalated the matter to the Yahoo Messenger Team. Yuan promised that Jared would

receive a telephone call back in 24-48 hours. Jared did not receive that call back.




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    Yuan refused to provide his last name.
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                            Yahoo Engineering Team Engaged

         18.   On September 25, 2018, Yahoo had confirmed the escalation of the matter

to its “Engineering Team.” Exhibit 6. On September 26, 2018, Jared contacted Yahoo

Account Pro support again. At that time, an unnamed support representative from

Yahoo advised Jared that the case had been escalated and Yahoo was continuing to work

on it.

         19.   Jared asked repeatedly to be transferred directly to Yahoo’s engineering

team, so he could discuss it with them directly, but that request was refused, ostensibly

because that team is located in the United States. However, the support person advised

Jared that he was simultaneously chatting on-line with a member of Yahoo’s engineering

team about the ongoing inquiry.

         20.   Yahoo’s Engineering Team advised Jared that there was nothing further

Yahoo could do. Jared requested that Yahoo put that in writing. The representative

promised to do so, but despite this promise, Jared has received nothing to date.

                                Yahoo Still Working on It

         21.   On October 2, 2018, attorneys Stamatis and Leavens called Yahoo

Messenger to personally follow up on the issue. They spoke with “Stan,” who also

advised he was located in the Philippines. Stan checked with support, put counsel on

hold, and despite the prior claim that there was “nothing more” Yahoo could do, advised

that Yahoo’s engineers are indeed “still looking into the issue.” Though Stan also



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indicated that Yahoo would get back to counsel, he offered no timeframe, other than to

say it would happen “ASAP.”

                                       Conclusion

      22.     No one at Yahoo has told us that the data has been deleted or is not

retrievable. On the contrary, Yahoo tech-support advised that it is working to figure out

how we can get access to it. To that end, in that October 2 call, Leavens and Stamatis

asked Stan whether issuing a subpoena to Yahoo for its Messenger data might be a way

to “shake loose” the data from Yahoo. Stan said it might be worth a try, but from his

vantage point in the Philippines, he couldn’t say for sure one way or another. Of course,

Stan’s view that it might be worth a try was his own speculation and there was neither

any guaranty given, nor any representation made that a subpoena would get us the data

from Yahoo.


      23.     Although, Yahoo has indicated through its website that Messenger account

holders would be provided access to their data until November 8, 2018, we stand ready,

willing and able to issue a subpoena to Yahoo, if Your Honor so directs.




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Dated: October 10, 2018
                                       21 CENTURY SMOKING, INC. and
                                       BRENT DUKE

                                             /s/ Peter S. Stamatis
                                 By:         _______________________
                                               One of their Attorneys

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